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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
SHAQUILLE DINKINS,                                                     :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19 Civ. 2336 (JPC)
                  -v-                                                  :
                                                                       :            ORDER
CITY OF NEW YORK et al.,                                               :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The parties shall appear for a status conference on November 2, 2021 at 10 a.m. The parties

should be prepared to discuss the discovery issues raised in Plaintiff’s Opposition to Defendant’s

Motion for Summary Judgment, Dkt. 87, as well as any other outstanding discovery issues in the

case. At the schedule time, all parties should call (866) 434-5269, access code 9176261.

        The Clerk of Court is directed to mail a copy of this Order to Plaintiff.

        SO ORDERED.

Dated: October 26, 2021                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
